Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 1 of 25




               Exhibit H
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 2 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 3 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 4 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 5 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 6 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 7 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 8 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 9 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 10 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 11 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 12 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 13 of 25
  Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 14 of 25




                                                                           DOCKET NO. CEN5082


                                          ASSIGNMENT

                WHEREAS, Christopher Marsh (hereinafter called "Assignor"), residing at 526
Canterbury Road, Audubon, PA 19403, has, by virtue of, inter alia, his employment agreement,
assigned his entire right, title, and interest in the invention described in U.S. Patent No.
7,598,083, entitled "CHEMICALLY DEFINED MEDIA COMPOSITIONS" (hereinafter
called "Invention"), to JANSSEN BIOTECH, INC. (formerly CENTOCOR, INC.), a
corporation of the State of PENNSYLVANIA, having a place of business at 800/850
Ridgeview Drive, Horsham, PA 19044, (hereinafter called "Assignee"),

               AND WHEREAS, Assignor has previously executed an assignment (attached
hereto as Exhibit A) confirming said assignment;

               NOW, THEREFORE, BE IT KNOWN that said Assignor executes this
Assignment in order to confirm that Assignor has transferred to Assignee all rights to sue for
past infringement of U.S. Patent No. 7,598,083; and

               FURTHERMORE, for avoidance of doubt, for and in consideration of the sum
of One Dollar, and other good and valuable consideration, the receipt of which is hereby
acknowledged, Assignor hereby agrees that all rights to sue for past infringement of IJ,S. Patent
No. 7,598,083 have been and are hereby assigned to Assignee.


                                                    (L.S.) Date/10/l
CHRISTOPHER MARSH




8120775v.1
  Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 15 of 25




                    EXHIBIT A




8120775v.1
  Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 16 of 25




                                                                            DOCKET NO. CEN5082
                                                                                   Joint Inventors



                                        ASSIGNMENT

                WHEREAS, David Epstein residing at 434 East Aliens Lane, Philadelphia, PA
1911.9; Roger Monseli residing at 7307 Woodview Way, Willistown, PA 19355; Joseph Horwitz
residing at 317 Maple Ave, Swarthmore, PA 19081; Sadettin Ozturk residing at 1965 Black
Rock Lane, Paoli, PA 19301; Christopher Marsh residing at 526 Canterbury Road, Audubon,
PA 19403, and Susan Lenk with a place of business of 200 Great Valley Parkway, Malvern, PA
19355, respectively, (hereinafter called ’Assignors") have made certain new and useful
inventions or discoveries relating to

                    CHEMICALLY DEFINED MEDIA COMPOSITIONS

for which they have executed an application for Letters Patent of the United States; and

                WHEREAS, JANSSEN BIOTECH, INC., (formerly CENTOCOR, INC.) a
corporation of the State of PENNSYLVANIA, having a place of business at 800/850
Ridgeview Drive, Horsham, PA 19044,(hereinafter called ’Assignee’), is desirous of acquiring
Assignors’ entire right, title, and interest therein:

                NOW, THEREFORE, BE IT KNOWN that for and in consideration of the sum
of One Dollar and other valuable considerations, the receipt of which is hereby acknowledged,
Assignors have sold, assigned, and transferred, and do hereby sell, assign and transfer unto said
Assignee their entire right, title and interest in and to all said inventions and discoveries
disclosed in said application whose identification above by serial number and filing date, when
available is hereby authorized, and in and to said application, all substitutions, divisions, and
continuations thereof, and in and to all Letters Patent, United States and foreign, that may be
granted for said inventions and discoveries, and in and to all extensions, renewals, and reissues
thereof, the same to be held and enjoyed by said Assignee, its successors and assigns, as fully
and entirely as the same would have been held and enjoyed by Assignors if this Assignment and
sale had not been made;

                And Assignors hereby authorize and request the Commissioner of Patents of the
United States to issue said Letters Patent in accordance with this Assignment;

               And for the consideration aforesaid, Assignors covenant and agree with said
Assignee that he has a full and unencumbered title to the inventions and discoveries above
described and hereby assigned, which title they warrant unto said Assignee, its successors and
assigns;
  Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 17 of 25




                                                                       DOCKET NO, CEN5082
                                                                             Joint Inventors

                 And for the consideration aforesaid, Assignors further covenant and agree that
they will, whenever requested, but without cost to them promptly communicate to said Assignee
or its representatives any facts known to them relating to said inventions and discoveries, testify
in any interference or legal proceedings involving said inventions and discoveries, and execute
any additional papers that may be necessary to enable said Assignee or its representatives,
successors, nominees, or assigns to secure full and complete protection for the said inventions
and discoveries or that may be necessary to vest in said Assignee the complete title to the said
inventions and discoveries and patents hereby conveyed and to enable it to record said title.




                                                     (L. S.)   Date:
DAVID EPSTEIN




                                                     (L. S.)   Date:            -

ROGER MONSELL




                                                     (LS.) Date:
JOSEPH HORWITZ




                                                     (L. S)    Date:
SADEYFIN OZTURK




                                                     (L. S.)   Date:
CHRISTOPHER MARSH




                                                     (L. S.)   Date:
SUSAN LENI(
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 18 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 19 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 20 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 21 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 22 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 23 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 24 of 25
Case 1:17-cv-11008-MLW Document 27-8 Filed 08/02/17 Page 25 of 25
